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U.S. DISTRIC 1 COURT -N.D. OF N.Y.

AO 91 (Rev. 11/11) Criminal Complaint - | 1. i l)
UNITED STATES DISTRICT COURT | | DEC 14 2023
for the | | |
Northern District of New York | i ——
UNITED STATES OF AMERICA ) | A
v. ) oS
T-133 (CFH )
DEVON NEWSOME a.k.a. “Nepp,” )  CaseNo. |}A9-M
)
)
)
)
Defendant. )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of May 21, 2023, in the county of Albany in the Northern District of New York the
defendant violated:

Code Section Offense Description
18 U.S.C.§§ 922(a)(5), 924(a)(1)() Transfer of a Firearm to an Out-Of-State Resident

This criminal complaint is based on these facts:

See attached affidavit.

(X] Continued on the attached sheet.

Conner ds

Complainant's signature
Connor Lee, ATF Task Force Officer

Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of Criminal Procedure.

Date: [vey be? 11,4023 [pox

Judge’s signature

City and State: Albany, NY Hon. Christian F. Hummel, U.S. Magistrate Judge

Printed name and title
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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

I, Connor Lee, depose and say under penalty of perjury as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I respectfully make this affidavit in support of a criminal complaint charging
DEVON NEWSOME a.k.a. “Nepp,” aged 30, of Stockbridge, Georgia, with Transferring a
Firearm to an Out-of-State Resident, in violation of 18 U.S.C. § 922(a)(5) and 924(a)(2), in that
NEWSOME, a resident of Georgia who was not licensed to deal, import, manufacture, or collect
firearms, willfully transferred, sold, or caused to be delivered firearms to Jabree Jones, a resident
of New York not licensed to deal, import, manufacture, or collect firearms, in Albany County,
New York, in the Northern District of New York, on or about May 21, 2023, knowing or having
reasonable cause to believe that Jabree Jones resided in a state other than Georgia.

2. I have been a Task Force Officer of the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (“ATF”) since July 2022. I am also a law enforcement officer with the Rotterdam
Police Department (“RPD”) in Rotterdam, New York since January 2014, and a detective in the
RPD since August 2017.

3. I have received formal and informal training concerning drug and firearms
investigations, federal law pertaining to drug and firearms offenses, drug and firearm
identification, report writing, surveillance, and undercover operations. During my tenure with the
ATF and with the RPD, I have participated in numerous firearms investigations for which I have
conducted physical and electronic surveillance, executed search warrants, and reviewed and
analyzed recorded conversations and records of drug and firearms traffickers. Through my
training, education, and experience (including debriefing cooperating drug and firearms traffickers

and straw purchasers, assisting in undercover operations, and conducting surveillance on numerous
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occasions of individuals engaged in drug and firearms trafficking), I have become familiar with
the manner in which drugs and firearms are stored, transported, and sold, the method of payment
for such firearms and drugs, and the efforts of persons involved in such activities to avoid detection
by law enforcement.

4, As an ATF Task Force Officer, I am authorized to seek and execute federal arrest
and search warrants for Title 18 criminal offenses, including offenses related to firearms
trafficking offenses, including violations under Title 18, United States Code, Chapter 44, related
to firearms.

5. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. Where I assert that an event
took place on a particular date and time, I am asserting that it took place on or about the date and
time asserted. As this affidavit is being submitted for the limited purpose of securing a criminal
complaint, I have not included each and every fact known to me concerning this investigation. I
have set forth only the facts that I believe are necessary to establish probable cause to believe that
NEWSOME has violated Title 18, United States Code, Section 922(a)(1)(B).

6. 18 U.S.C. § 922(a)(5) states in relevant part that: “(a) It shall be unlawful...(5) for
any person (other than a licensed importer, licensed manufacturer, licensed dealer, or licensed
collector) to transfer, sell, trade, give, transport, or deliver any firearm to any person (other than a -
licensed importer, licensed manufacturer, licensed dealer, or licensed collector) who the transferor
knows or has reasonable cause to believe does not reside in (or if the person is a corporation or
other business entity, does not maintain a place of business in) the State in which the transferor
resides; except that this paragraph shall not apply to (A) the transfer, transportation, or delivery of

a firearm made to carry out a bequest of a firearm to, or an acquisition by intestate succession of a
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firearm by, a person who is permitted to acquire or possess a firearm under the laws of the State
of his residence, and (B) the loan or rental of a firearm to any person for temporary use for lawful
sporting purposes.”
PROBABLE CAUSE

7. In May 2023, the United States, including the ATF, began investigating Jabree
Jones for receiving and trafficking firearms into the State of New York from other states. The
investigation has revealed that NEWSOME, a resident of the State of Georgia, transferred firearms
to Jabree JONES, a resident of New York State, in May 2023. Both Newsome and Jones are
prohibited persons and are not licensed dealers. NEWSOME knew or had reasonable cause to
believe that Jones was in New York based on prior mailings between NEWSOME and JONES.
The transferred firearms included a Glock pistol equipped with a machinegun conversion device
that allowed it to function as a machinegun.

Newsome is Not a Licensed Dealer and a Resident of Georgia

8. According to criminal history records I obtained, I understand that Devon
NEWSOME is a prohibited person with at least one prior conviction punishable by a term of
imprisonment greater than one year. On July 16, 2015, Newsome was convicted, in Clayton
County Superior Court in Georgia, of three counts of Purchase, Possession, Manufacture,
Distribution, or Sale of Marijuana, in violation of Georgia Code Section 16-13-30(j), and one count
of Theft by Receiving Stolen Property, in violation of Georgia Code Section 16-8-7, for which he
received a sentence greater than one year. As of May 2023, Devon Newsome was a prohibited
person and was not allowed to possess firearms.

9. An inquiry within ATF records also revealed that Devon NEWSOME did not have

any license to deal, import, manufacture, or collect firearms in May 2023.
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10. On November 29, and December 1, 2023, law enforcement conducted surveillance
in the area of the Stockbridge, Georgia, and observed Newsome leaving a residence at 509
Sprayberry Road. At the time of the surveillance, location information associated with a cell phone
with call number 404-455-5258, known to be used by Newsome, showed that the phone was in the
same vicinity of Stockbridge, Georgia, where NEWSOME was observed.

Jones is Not a Licensed Dealer

11. Jabree JONES has two prior convictions punishable by a term of imprisonment
greater than one year including a prior conviction in the U.S. District Court for the Northern
District of New York, of Conspiracy to Violate the Racketeering Influenced and Corrupt
Organizations (RICO) Act, in violation of 18 U.S.C. § 1962(d), for which he was sentenced to a
term of imprisonment greater than 1 year. Accordingly, as of May 2023, JONES was a prohibited
person and was not allowed to possess firearms.

12. An inquiry within ATF records also revealed that Jabree Jones did not have any
license to deal, import, manufacture, or collect firearms in May 2023.

Apple Records Show That Devon Newsome Transferred Firearms To Jones in May 2023

13. On October 11, 2023, the U.S. District Court for the Northern District of New York
issued a search warrant authorizing the search of information associated with an Apple iCloud
account with Apple ID nhnepp@gmail.com (the “Nhnepp iCloud Account”). The verified phone
and FaceTime / iMessage Phone for the Nhnepp iCloud Account is 404-455-5258.

14. Law enforcement’s search of the Nhnepp iCloud Account revealed, among other
records, a chat conversation between NEWSOME, using phone number 404-455-5258, and Jabree

JONES, using phone number 424-332-6700, stating as follows:
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DATE/TIME (UTC+0) SENDER CONTENT
3/17/2023 3:53:14 PM 424-332-6700 (JONES) Debbie teta
313 Olean st

Schenectady ny 12306

3/20/2023 7:02:48 PM

404-552-5258 (Newsome)

Liked “Debbie teta
313 Olean st
Schenectady ny 12306”

3/20/2023 7:06:32 PM 424-332-6700 (JONES) No signature
3/20/2023 7:06:36 PM 424-332-6700 (JONES) Overnight
5/10/2023 4:56:37 PM 404-552-5258 (Newsome) _| Just woke up
5/12/2023 5:01:56 PM 424-332-6700 (JONES) 32 knauf lane
Albany, ny 12211

5/12/2023 5:02:06 PM 424-332-6700 (JONES) Get that out today please
5/13/2023 3:26:18 PM 404-552-5258 (Newsome) [Image file “IMG_3241.heic]
§/20/2023 7:15:44 PM 404-552-5258 (Newsome) 6ody guard 380

Ruger 380

S&w 9

Taurus 40

Glock 9 wit da 6utton
5/20/2023 7:16:01 PM 424-332-6700 (JONES) Okay
§/20/2023 7:16:12 PM 424-332-6700 (JONES) See wit 50 got

5/21/2023 6:26:48 PM —

“| 404-552-5258 (Newsome)

[Video file MOV_4982.mov]

5/21/2023 6:45:01 PM

404-552-5258 (Newsome)

[Video file MOV_2740.mov]

5/21/2023 6:45:01 PM

404-552-5258 (Newsome)

It’s 29

5/21/2023 8:32:13 PM

404-552-5258 (Newsome)

6786131779

15. In my training and experience, the conversation starts on March 17, 2023, with

5

JONES sending an address in Schenectady, New York, to NEWSOME, which JONES liked on
March 20, 2023. On March 20, 2023, JONES further added that no signature would be required
and directed NEWSOME to send the package overnight. On May 12, 2023, JONES sends
NEWSOME another address in Albany, New York, and then asks NEWSOME to send the package
out that day. On May 13, 2023, NEWSOME responds with the image file “IMG_3241.heic,” which
depicts a receipt for a United States Postal Service package sent from Forrest Park, Georgia to

Albany, New York.! On May 20, 2023, the chat continues when NEWSOME sends JONES

' U.S. Postal Service records indicate that the package with the listed tracking number was
delivered on or about May 13, 2023, at 11:00 AM.

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information about different types of firearms he is selling to JONES, including a Bodyguard .380,
a Ruger .380 caliber pistol, a Smith & Wesson 9mm caliber pistol, a Taurus .40 caliber pistol, and
a Glock 9mm handgun with a “6utton.” In my training and experience, the reference to “da 6utton”
means “a button,” which is slang among firearms traffickers for a machinegun conversion device
that can convert a firearm to automatically shoot more than one shot without manual reloading, by
a single function of the trigger, also known as a machinegun. In response, JONES states okay.

16. The following day, on May 21, 2023, Newsome sends two videos to JONES. He
first sent a video file named “MOV_4982,” which is an approximately 16 second video depicting

various firearms laid on a carpet. A screenshot taken from the video is seen below:

17. Soon after sending the video file above, NEWSOME sent another video The video
file MOV_2740.mov, sent by NEWSOME to JONES, on May 21, 2023, is an approximately 40
second video depicting the same firearms laid on a carpet as the previous video file. A series of

screenshots from the file named “MOV_2740.mov” is captured below, which shows the firearms
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including a revolver with a wooden handle in the center bottom of the photo.

After sending those two video files, NEWSOME sent a chat message on May 21, 2023, to
JONES, stating, “It’s 29” and “6786131779,” which in my training and experience, indicates that
there were 29 firearms available for sale and visible in the video and directed JONES to contact
the phone number 678-613-1779.?

18. Law enforcement’s search of the Nhnepp iCloud Account also revealed an image
with file name “IMG_6250.heic,” with associated metadata indicating it was created on or about
April 25, 2023, that depicts a Glock model pistol with serial number ADSF558 and a Taurus PT
24/7 Pro DS .40 caliber pistol bearing serial number SC024407. The original image, along with

two enhanced images showing the serial numbers on the firearms are set forth below:

? AT&T records indicate that phone number 678-613-1779 is registered to Kayla Smothers, with
a listed address on Biscayne Drive, Forest Park, Georgia. The listed email contact for the subscriber
is listed as devonskeeper!23(@gmail.com. Smothers is believed to be Newsome’s girlfriend and
has also been observed living at an address in Stockbridge, Georgia, with Newsome in November
and December 2023.
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19. Law enforcement’s search of the Nhnepp iCloud Account also revealed significant

amounts of attribution evidence showing that the account and phone number 404-552-5258 is used
and controlled by Devon NEWSOME. For example, one video, with metadata indicating that it
was recorded on October 10, 2023, depicts NEWSOME, with the camera in “selfie” mode, singing
to music, and contains a location tag stating “Cali, La Sucursal del Cielo, De Colombia.” ik
database query of the Treasury Enforcement Communication System (TECS) revealed that on
October 8, 2023, NEWSOME traveled to Bogota, Eldorado (Bogota International Airport,
Colombia) from Hartsfield-Jackson Atlanta, GA International Airport, and travelled back from
Colombia to Georgia on October 11, 2023. Flight confirmation details from air carriers for
Newsome’s travel to Colombia were also found in the Nhnepp iCloud Account.
Search Warrant Executed at the Western Ave Property Finds Firearms Linked to NEWSOME
20. On May 23, 2023, law enforcement, including members of the Drug Enforcement

Administration (DEA) and the ATF, executed a federal search warrant issued by the U.S. District
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Court for the Northern District of New York at 1434 Western Avenue, in Albany, New York (the
“Western Ave Property”).

21. Law enforcement found significant quantities of pills containing fentanyl and
methamphetamine, as well as 34 firearms and assorted ammunition in the apartment, including
firearms in both bedrooms of the apartments, as well as in the safe where the drugs were found.
Among other firearms, law enforcement found a Glock model pistol with serial number ADSF558
and a Taurus PT 24/7 Pro DS .40 caliber pistol bearing serial number SC024407, matching the
firearms and serial numbers identified in the photo found on the Nhnepp iCloud Account noted
above.

22. Lawenforcement also found two Taurus firearms in their original packaging, which
matches with the two video files depicting two Taurus firearms in their original packaging that
NEWSOME sent to JONES on May 21, 2023.

23. A Ruger Security Six .357 caliber revolver was found in the safe at the Western
Ave Property with a cracked handle that appeared to be repaired with a unique streak on the handle,
which also matches the appearance of a revolver in the video sent by NEWSOME to JONES. A

photograph of the Ruger recovered at the Western Ave Property on May 23, 2023, is seen below:

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24. At the Western Ave Property, law enforcement also found a Polymer 80 privately
made firearm, with a unique light on the front along with a unique gold barrel. The unique
characteristics of the firearm match a firearm depicted in the video sent by NEWSOME to JONES
on May 21, 2023. A photograph of the Polymer 80 privately made firearm recovered at the Western

Ave Property on May 23, 2023, is seen below:

py ies
25. Law enforcement also found a Glock, Model 22, .40 caliber pistol, bearing serial

number CWG293US, with a loaded extended magazine (the “Glock 22”), along with three other
firearms, in the fridge in the rear bedroom.

26. | have been informed by an agent for the ATF that several of the firearms found at
the Western Ave Property, including the Glock model pistol with serial number ADSF558 and a
Taurus PT 24/7 Pro DS .40 caliber pistol bearing serial number SC024407, were manufactured
outside of the State of New York.

27. ATF trace reports and related police reports, show that several of the firearms
recovered at the Western Ave Property were previously purchased and reported stolen outside of
New York, including Georgia. For example, ATF records show that one firearm recovered in the
safe at the Western Ave Property—a Taurus, Model G2C, 9mm caliber pistol, bearing serial
number ABA254732—was purchased on March 14, 2020, in Georgia, and was reported stolen out

of Georgia, on March 18, 2023.

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28. Firearms Enforcement Officer (“FEO”) John Hawes, from the ATF Firearms and
Ammunition Technology Division, examined the Glock Model 22, .40 caliber pistol, bearing serial
number CWG293US (“Glock 22”), that was recovered at the Western Ave Property. FEO Hawes
determined that the Glock 22 had been modified by the replacement of a slide cover plate, with a
machinegun conversion device (““MGCD”) to convert the semiautomatic pistol into a machinegun.
Upon test firing and conducting further analysis, FEO Hawes concluded that the Glock 22, with
the MGCD installed, is a weapon that shoots, automatically more than one shot, without manual
reloading, by a single function of the trigger, and is therefore classified as a machinegun. Based
on this information, I believe that the Glock 22 found at the Western Ave Property was the “Glock

‘with da 6utton” referenced by NEWSOME in his chat message with JONES.

Probation Search at JONES’ Residence Finds Three Phones

29. The U.S. Probation Office also executed a probation search on May 23, 2023, at
the reported residence of Jabree JONES at 21 Sacandaga Road in Glenville, New York. During the
search, U.S. Probation found $50,000 in cash located hidden in a closet, a set of keys that included
keys to the Western Ave Property, and three cell phones—an Apple iPhone SE bearing call number
424-332-6700; an Apple iPhone 13 Mini bearing call number 518-937-0346; and an Apple iPhone
8 bearing call number 404-502-4395.

30. The Apple iPhone SE bearing call number 424-332-6700 was subsequently
searched and found to contain the same chat conversation between NEWSOME and JONES
described in paragraphs 14 to 17 above.

31. U.S. Probation was able to use the keys found at JONES’ residence to obtain access
to the Western Ave Property. Based on the keys that were found by Probation at his residence that

gave him access to the drugs and guns found at the Western Ave Property and other surveillance

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done of the Western Ave Property showing that JONES had access, custody, and control over the
property, I believe that Jabree JONES had constructive possession of all the firearms and drugs
found at the Western Ave Property.

32. | JONES was also observed entering the Western Ave Property on May 22, 2023, and
was required to stay within the Northern District of New York while under supervision.

CONCLUSION

33. Based on the above information, there is probable cause to believe that on or about
May 21, 2023, in Albany County, New York, in the Northern District of New York, and elsewhere,
DEVON NEWSOME, a resident of Georgia not licensed to deal, import, manufacture, or collect
firearms, transferred, sold, or caused to be delivered firearms to Jabree JONES, a resident of New
York not licensed to deal, import, manufacture, or collect firearms, in Albany County, New York,
in the Northern District of New York, and NEWSOME knew or had reasonable cause to believe
that Jabree Jones resided in a state other than Georgia.

34. [respectfully request that a criminal complaint be issued pursuant to this violation
of federal law.

Attested to by the Affiant:

Conner Loe

Connor Lee
Task Force Officer
Bureau of Alcohol, Tobacco, Firearms & Explosives

I, the Honorable Christian F. Hummel, United States Magistrate Judge, hereby
acknowledge that this affidavit was attested to by the affiant by telephone on December /£/ __,

2023 in accordance with 41 of the Federal Rules of Criminal Procedure.

Hon. Christian F. Hummel
United States Magistrate Judge

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